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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                    Plaintiff,

      v.                                     Crim. Action No.: 2:20CR33
                                                           (Judge Kleeh)

JAY JAY WILLIAM HEDRICK,

                    Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 33],
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

      On December 10, 2020, the Defendant, Jay Jay William Hedrick

(“Hedrick”),       appeared    before   United   States    Magistrate    Judge

Michael J. Aloi and moved for permission to enter a plea of GUILTY

to   Count   One    of   the   Indictment,    charging    him   with   Unlawful

Possession of a Firearm, in violation of Title 18, United States

Code, Sections 922(g)(1), 922(g)(9), and 924(a)(2). This Court

referred Defendant’s plea of guilty to the magistrate judge for

the purpose of administering the allocution, pursuant to Federal

Rule of Criminal Procedure 11, making a finding as to whether the

plea was knowingly and voluntarily entered, and recommending to

this Court whether the plea should be accepted. Hedrick stated

that he understood that the magistrate judge is not a United States

District Judge, and Hedrick consented to pleading before the

magistrate judge.
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      Based upon Defendant Hedrick’s statements during the plea

hearing    and   the   Government’s       proffer   establishing   that   an

independent factual basis for the plea existed, the magistrate

judge found that Defendant Hedrick was competent to enter a plea,

that the plea was freely and voluntarily given, that he was aware

of the nature of the charges against him and the consequences of

his plea, and that a factual basis existed for the tendered plea.

The magistrate judge issued a Report and Recommendation Concerning

Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 33] finding a

factual basis for the plea and recommending that this Court accept

Defendant Hedrick’s plea of guilty to Count One of the Indictment.

      The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R.         He further advised that failure to file

objections would result in a waiver of the right to appeal from a

judgment of this Court based on the R&R.            Neither the Defendant

nor the Government filed objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R

[Dkt. No. 33], provisionally ACCEPTS Defendant Hedrick’s guilty

plea, and ADJUDGES him GUILTY of the crime charged in Count One of

the Indictment.

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      Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until

it has received and reviewed the presentence investigation report

prepared in this matter.

      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

following:

      1.    The Probation Officer shall undertake a presentence

investigation of Hedrick, and prepare a presentence investigation

report for the Court;

      2.    The Government and Defendant Hedrick shall each provide

their narrative descriptions of the offense to the Probation

Officer by January 21, 2020;

      3.    The presentence investigation report shall be disclosed

to Defendant Hedrick, counsel for Defendant, and the Government on

or before March 24, 2021; however, the Probation Officer shall not

disclose any sentencing recommendations made pursuant to Fed. R.

Crim. P. 32(e)(3);

      4.    Counsel may file written objections to the presentence

investigation report on or before April 7, 2021;




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      5.    The Office of Probation shall submit the presentence

investigation report with addendum to the Court on or before April

20, 2021; and

      6.    Counsel may file any written sentencing memorandum or

statements     and     motions     for     departure   from     the     Sentencing

Guidelines, including the factual basis for the same, on or before

April 27, 2021.

      The magistrate judge released Defendant on the terms of the

Order Setting Conditions of Release [Dkt. No 17].

      The Court will conduct the Sentencing Hearing for Defendant

on May 24, 2021, at 11:30 A.M., at the Elkins, West Virginia point

of holding court.        If      counsel       anticipates     having     multiple

witnesses    or   an   otherwise     lengthy      sentencing    hearing,    please

notify the Judge’s chamber staff so that an adequate amount of

time can be scheduled.

      It is so ORDERED.




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      The Clerk is directed to transmit copies of this Order to

counsel of record and all appropriate agencies.

DATED: January 11, 2021


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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